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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  AFFORDABLE AERIAL                           CASE NO.: 9:18-CV-80158
  PHOTOGRAPHY, INC.,

        Plaintiff,

  vs.

  MIRSKY REALTY GROUP, LLC,
  BRIDGET R. YEAKLE, BONNIE
  ANN PETERS AND MARK R.
  ZAHEDI,

       Defendants.
  ____________________________/

                                  DEFENDANTS’ INITIAL DISCLOSURES


        Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendants,

  The Defendants, Mirsky Realty Group, LLC, Bridget R. Yeakle, Bonnie Anne Peters and

  Mark R. Zahedi makes the following Initial Disclosures:

  1. PERSONS WITH KNOWLEDGE

                                Name                                Subject Matter

            Mirsky Realty Group, LLC                  Photographs/Alleged infringement issues

            Bridget R. Yeakle                         Photographs/Alleged Infringement issues

            Bonnie Ann Peters                         Photographs/Alleged Infringement issues

            Mark R. Zahedi                            Photographs/Alleged Infringement issues
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         Defendants’ investigation and discovery concerning this case is continuing, and,

  if additional information is obtained after the date of these disclosures, Defendants will

  supplement these disclosures according to Rule 26(e) of the Federal Rules of Civil

  Procedure.

  2. DOCUMENTS AND ELECTRONIC FILES

         Defendants identify the following documents, electronically stored information, and

  tangibles that Defendant s may use to support its defenses. Defendants will make

  available all documents, data compilations, and tangible things that are likely to bear

  significantly on any claim or defense for inspection on a mutually convenient date and

  time at the offices of counsel for Defendants. The categories of documents include, but

  are not limited to photographs, and invoices.

     Defendants’ investigation and discovery concerning this case is continuing, and, if

  additional information is obtained after the date of these disclosures, Defendants will

  supplement these disclosures according to Rule 26(e) of the Federal Rules of Civil

  Procedure.


         A copy of all documents and tangibles that are likely to bear significantly on any

  affirmative defense will be made available for inspection on a mutually convenient date

  and time at, Klein Glasser Park & Lowe P.L., 303 Banyan Boulevard Suite 300, West

  Palm Beach, FL 33401.



  3. DAMAGES

     This required disclosure is not applicable to Defendants at this time.
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  4. INSURANCE AGREEMENTS

     This required disclosure has been provided to Plaintiff.


                                   CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was
  furnished via CM/ECF to: Joel B. Rothman; Schneider, Rothman Intellectual Property
  Group, PLLC, joel.rothman@sriplaw.com; alex.cohen@sriplaw.com; 4651 North
  Federal Highway, Boca Raton, FL 33431 this _ 25th ___ day of April, 2018.

                                                  KLEIN GLASSER PARK & LOWE, P.L.
                                                  Counsel for Defendants
                                                  303 Banyan Blvd. – Suite 300
                                                  West Palm Beach, Florida 33401
                                                  Telephone: (561) 655-1500
                                                  Facsimile: (561) 659-2093

                                                  By: /s/ Helen L. Miranda
                                                     HELEN LEEN MIRANDA, ESQ.
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